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                                                                                                                                      !,



                                   IN THE DISTRICT       COURT OF MARYLAND

                                          IN AND FOR CECIL COUNTY



                                                                 NO. :
 DAVID    RIDGWAY,    PATRICIA      RIDGWAY,
                                                          OMPLAINT FOR FRAUD
                 Plaintiff      (8) ,                      d COMPLAINT FOR COLLUSION

         va.

NOVA STAR MORTGAGE,         W. Lance       Anderson,

Chris Casey,      Steve Haslam,          MORTGAGE
                                                                                                       0"            :r:.
                                                                                                       N
.ELECTRONIC     REGISTRATION       SYSTEMS,     R.K.                                                   c'~ .,... ..
                                                                                                       ~        ;
                                                                                                                   ...- "... , ~, .
                                                                                                       0-                       .'~
Arnold,     Bill Huffman,        SAXON MORTGAGE,
                                                                                                       Cl
                                                                                                                 ... --
                                                                                                                 ..•.•. '.~,
                                                                                                                '..- ..':" ..
                                                                                                                                  I


Scott Rodeman,        Steve Faulkner,        K C .                                                               _. : ..
                                                                                                       Z
                                                                                                       :::>      . :~      .. '
                                                                                                       "'"?     ":.~c!
                                                                                                                :..   ~;7
Reynolds,      MORGAN    STANLEY,       John Mack,                                                      c::r.
                                                                                                       C              I...J

                                                                                                                      ""-
Walid    Chammah,     Deborah     Curran,    Laura

o'Sullivan,      et al.

                 Defendant(s)

 NOW COMBS,     PLAINTIFF,       by and through        themselves,       who are unschooled    in law

 and asks that the court            take Judicial       Notice     of the enunciation     of principles

 as stated     in Haines v. Kerner, 404 U. W. 519, wherein                    the court has directed

 that those who are unschooled               in law making       pleadings    and/or   complaints   shall

 have 'the court        look to the substance          of the pleadings       rather   than the form.

 The Plaintiff(s)        moves     the court    as follows:

 I am filing     a complaint        for Fraud       and a complaint       for Collusion   for the

 following     reasons:

 The mortgage        note on my home        is in violation       of laws and regulations       that

 have been set in place            to protect       the American     consumer.    These   include   but'




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are not limited        to, the T~th     in Lending     Act,   (TILA), Cons~er      Protection

Aet,   Real Estate      Settlement    Procedures     Act,   (RBSPA) at 15 trsc 5 1601 et seq.

and.::t2USC 5 2601 et seq., and the Home Ownership               and Bqu~ty     Protection      Act

o~   (HOEPA).       My rights    as a consumer     have been grossly   violated.

Furthermore,        there appears    to be the Case of Collusion       between     these. entities

against    DAVID     RIDGWAY    and PATRICIA   RIDGWAY.

The year of my loan is not beyond              the statue of limitations •

       .COUNT   1


     1. NOVA STAR MORTGAGE, ET AL failed to give me the required 3 day cool off
        period as required by Regulation Z, Part 226 and 15 USC ~ 1601 et seq.
        This is prior to the signing of the Loan.  A complete set of unsigned
        documents were to have been given to me to take home and review.


     2. I was not given the BUD booklet on loans withih 3 days of making
        application nor was I given a Good Faith Estimate within 3 days of
        making application as required by 12 USC 5 2604 et seq.


     3. I was not given a Good Faith Estimate within 3 days of making
        application.  I received it at cloaing. (Code of Federal Regulations,
        Section 226.18@ and 12 USC 5 2601 et seq.)


     4. Since I was not given a Good Faith Estimate within 3 days of making
        Application, a separate sheet was not provided for each of the charges
        summarized on the Good Faith Estimate.


     5. The Borrower was not asked to sign an agreement that I did not want
        separate disclosures for the itemizations on.the Good Faith Estimate,
        Settlement Statement and Truth in Lending forms as required by Title 12
        Code of Federal Regulations   ~ 226.18 et seq.


     6. NOVA STAR MORTGAGE, ET ALfailed   to give me signed copies (Borrower and
        Lender) of the complete loan transaction as required by 15 USC ~ ~601
        et seq. within a reasonable amount of time or never during the entire
        period of the loan agreement
                               -
                                      to date.   .
     7. NOVA STAR MORTGAGE ET AL has failed to make the disclosures  required                         by
        15 USC ~ 1601 et seq. and Title 12 Code of Federal Regulation,   ~
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   226.18, clearly and conspicuously in writing, in a form that I the
   borrower could keep as required by 15 USC S1601 et seq. and Title 12
   Code of Federal Regulation; ! 226.18.


8. There were not statements that the consumers should refer to the
   appropriate contract doCUment and clause for information about
   nonpayment, default, the right to accelerate as required by Title 12
   Code of Federal Regulations, ~ 226.18 (p).


9. NOVA STAR MORTGAGE, ET AL failed to give all the required sentences in
   the unsigned loan documents as required by 15 USC ~ 1601 et seq. and
   Regulation Z, Part 226. at seq.

   COUNT   U


1. Because of this and other reasons, it leads me to believe that I may be
   a victim of predatory lending.

2. I am disputing the validity of the current debt you claim lowe.    By
   debt I am referring to the principal balance claimed owed, my
   calculated monthly payment, calculated escrow payment and any fees
   claimed to be owed you or any trust or entity you may represent.

3~ You as the Lender, have continued and so oontinue, to violate Title 15
   United States Code, Section 1601 et seq., Regulation Z, Title 12 Code
   of Federal Regulation, Part 226, 12 ~SC.~ 2601 et seq., 12 Code of
   Federal Regulations, part 3500 and 3i USC !ll1901 which was aliopted
   pursuant to the Consumer Protection Aot by failing to properly make
   disclosures.

4. As a result of Lender's aforesaid violations, NOVA STAR MORTGAGE, ET AL
   is liable to Borrowers in an amount not less $200.00 and up to $2000.00
   for.each anq every violation and clear title to pro~erty with fixtures
   in fee siT(lpleas a result of the aforementioned all with damages; The
   credit transaction is also rescindable.

  COUNT    III


  1. Your solicitation implies that you will lend money or extend credit
  for purchases.

  2. Your agreement implies that you lend money or extend credit. You do
  neither. You exchange credit to the borrower's "transaction accounts"
  This, according to the Federal Reserve Bank of Chicago's workbook
  "Modern Money Mechanics" at page 6 and 7 as well as other Federal
  Reserve Bank publications.

  3. You call it a credit rather than an exchange.




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         4. Your agreement does not mention that the funding for the transaction
         is done with the charge slip, not with your assets;

         5. You take the original charge slips and claim them as assets without
         the knowledge or permission of the owners.

         6. You sell these charge slips and/or applications/agreements and
         retain the proceeds without the knowledge or permission of the owners.

   7. You accept payments for charge slips which are no longer in your
      possession.

   8. You know that the only evidence of debt is the original charge
      application yet you accept payment for these charges and retain the
      original instead of returning it to its lawful owner.

   9. You misrepresent an account balance as being debt.

   10.         You harass Mortgage holders when they demand answers and
         explanations to these and other questions.

   11.         You use misinformation, lies, and deceit to confuse holders that
         confront you with these facts.

   12.         You threaten Mortgage holders with derogatory statements on their
         credit report if they demand explanations to these facts and
         statements.

   13.         You threaten holders with legal action if they confront you and
         demand explanations to these facts and statements.

   14.         Your
                 .. actions and methods define racketeering .

   15.         Your agreement and methods of transactipns are ultra vices.

   16.         You offer no or inadequate consideration for your agreement.

   17.         Your agreement lacks mutuality and your consideration is illuaory
         aince you retain the right to cancel or suspend the account without
         notice.



         COUNT :tv

1. There seems to be an elaborate scheme which has been perfected between the

defendants to receive credits from the homeowner which has paid for the




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homestead,     and then to charge           through    fraudulent              agreements     three    to four

times     the original     value    of the property           while       through    the aide of even

government     officials       to place     fraudulent           liens, .and claims upon             the property

and then steal by force            the property       from the homeowner.                It has been brought

to the attention         of our representatives              that these          so called     lenders    do not

have     the right     to foreclose     on something          that they do not              OWO,   nor are

holders     in due course        of. This Collusion           is perfected          by all     of the

defendants     being participants           1n this matter.             They areJ NOVA         STAR MOnTGAGE,

W. Lance Anderson,         Chris    Casey,    Steve    Haslam,          MORTGAGE     ELECTRONIC

REGISTRATION        SYSTEMS,     R.K. Arnold,    Bill Huffman,                 SAXON MORTGAGE,        Scott

Rodeman,     Steve Faulkner,        K C ReYnolds,           MORGAN       STANLEY,    John Mack, Walid

Chammah,     Deborah     Curran,    ~aura    O'Sullivan,           et    al.


Please     take notice     that the undersigned              rescinds          the application        and any

agreement     between     NOVA    STAR MORTGAGE,       ET AL and DAVID RIDGWAY                     and PATRICIA

RIDGWAY.

uRescission     of contract:        To abrogate,       annul,           avoid,    or cancel        a contract;

particularly,        nullifying     a contract     by the act of a party.                     The right of

rescission     is the right        to cancel     (rescind)          a contract upon the occurrence                     of

certain     kinds of default        by the other       contracting              party.      To declare    a

contract     vo.id in its inception          and to put an end to it as though                        it never

were.     RUBsell     v Stephens,      191 Wash.      314, 71 P.2d 30, 31."

UA 'rescission'        amounts     to the unmaking           of a contract,          or an undoing        of it

from the beginning,         and not merely        a termination,                and it may be effected            by

mutual     agreement     of parties,      or by one of the parties                  declaring        rescission        of




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 contract without consent of other if a legally sufficient ground therefore

 exist ...
        " Abdallah, Inc. v. Martin, 242 Minn.            41E>,   65 N.W. 2d   G41,   644.


 Black's Law Dictionary, Sixth Edition, p. 1306.

 nA rescission at law is one which occurs without the assistance of the

 courts, in which one party unilaterally cancels the contract in response to a

 material breach by the other party or for other valid reasons.                      It is

 accomplished when one party to a contra~t tenders or returns to the other

 party benefits received under a contract, and it simply means that a party,

 by his or her acts, rescinds the agreement." 17B C.J.S. ~ 484.



 This rescission is made on the grounds that the execution.of the

 application/agreement         by the undersigned was obtained through fraud,

 misrepresentation,    and deceit, through the mutual mistake of both parties,

 and through the unilateral mistake of the undersigned induced by words, acts,

 and conduct business NOVA STAR MORTGAGE, ET AL as seller as well as fraud,

 extortion, and conversion during agreement.

 The above facts and state~ents are evidence of the intentional and gross

 misrepresentation    of material facts Perpetrated by your solici.tatioo

 material, application, and agreement and the reasons for this Notice of

..Rescission and Restoration of Status Quo.

 On condition that restoration is made to the undersigned of all monies and

 things of value given, transferred, or cooveyed by the undersigned                     in

 consideration of the applications/agreement,             the undersigned offers to

 restore everything of value received by the undersigned and to surrender

 possession thereof simultaneously with your compliance with the conditions.




                                               - 6   .



-------_._._   _._----     _._----- -----_.
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Further, on compliance with the condition, the undersigned offers to do and

perform all acts aridthings that might be necessary or proper to restore

fully to NOVA STAR MORTGAGE, ET AL all properties and things of value

received by the undersigned pursuant to or in consideration of the

application/agreement,      as fully and completely as if the application/

agreement had never been made.



The undersigned demands the following from NOVA STAR MORTGAGE, ET AL:


   1. Prove, with competent evidence, that the following statements by the
      Federal Reserve Bank of Chicago in their "ModeruMoney Mechanicsu
      workbook, Revised February 1994, do not apply to NOVA STAR MORTGAGE, ET
        AL:



           A. "Of Course, they do not really payout loans from the money they
              receive as deposits. If they did this, no additional money would
              be created. What they do when they make loans is to accept
              promissory notes in exchange for credits to the borrowers'
              transaction accountsU At page 6.
           B. "Loans are made by crediting the borrower's deposit account,
              1.e., by creating additional deposit money. At page 7.
                                                            U


           C. That the law allows lenders to exchange promissory notes/charge
              slips for transaction account credits.
  2.    The originals of all charge documents that represent all previous
        payments;
   3.   Refund of all moneys not "represented by original charge documents in
        "2 above;
          U


  4.    Certified copies of all charge documents that represent the.halance yOU
        allege to be owed "on the above referenced'account;
  S.    A sworn statement or affidavit stating the following:


              A. 'l'heamount of money NOVA STAR MORTGAGE, ET AL alleges to have
                 lent and is still owed;                   .
              B. That the above referenced charge documents accurately represent
                 the mount state in "A" above;
              C. 'l'hatNOVA STAR MORTGAGg ET AL's money was lent to obtain these
                 charge documents from .the merchant's bank;
              D. 'l'hatthese charge documents did not fund the transaction;
              E. That these charge documents will be returned to me immediately
                 upon payment;
              F. That my apPlication did not fund these transactions.
              G. That the account will be reported to the credit bureaus as "paid
                 as agreed" upon receipt of payment.



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Upon receipt of the above, undersigned agrees to pay the amount shown on the

affidavit in SA above.



or, NOVA STAR MORTGAGE, ET AL may show the account "paid as agreed," send a

zero balance statement to undersigned, notify all credit bureaus that the

account is paid as agreed and consider the issue closed.

Please be informed.   We are not questioning NOVA STAR MORTGAGE, ET AL's

aUthority to lend money or negotiate instruments.     Our complaint is the fraud

'propounded by the solicitation and agreement implying that money is being

lent when, in fact, instruments are being exchange for transactions

acoount/deposit   account credits.   If you are in fact lending money as your

agreement implies, the above demands should be quite easy to fulfill and no

honest business man would ever hesitate to do so.

NOVA STAR MORTGAGE, BT AL has thirty (30) days to respond.      Failure to

respond in a meaningful and construc~ive manner within thirty (30) days will

be cbnstrued as admission on the part of NOVA STAR MORTGAGE, ET AL that the

above reference facts and statements are correct, that the agreement has been

rescinded with NOVA STAR MORTGAGE, W. Lance Anderson, Chris Casey, Steve

Haslam, MORTGAGE,ELECTRONIC   REGISTRATION   SYSTEMS, R.K. Arnold, Bill Huffman,

SAXON MORTGAGE, Scott Rodeman, Steve Faulkner, K C Reynolds, MORGAN STANLEY,

John Mack, Walid Chammah, Deborah Curran, Laura O'Sullivan, et al.




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has been completely restored, and that NOVA STAR MORTGAGE, SAXTON MORTGAGE,

et al., agrees to report the account to the credit bureaus as "paid as

agreed."




~Silence can only be equated with fraud when there is a legal or moral duty

to speak, or when an inquiry left unanswered would be intentionally

misleading ...
            We cannot condone this shocking conduct ...
                                                     If that is the case we

hope our message is clear.     This sort of deception will not be tolerate~ and

if this is routine it should be corrected immediately"    u.s.   vTWell,   550 F2d

297, 299-300.

Should NOVA STAR MORTGAGE, W. Lance Anderson, Chris Casey, Steve Haslam,

MORTGAGE ELECTRONIC REGISTRATION    SYSTEMS, R.K. Arnold, Bill lluffman, SAXON

MORTGAGE, Scott.Rodeman, Steve Faulkner, K C Reynolds, MORGAN STANLEY, John

Mack, Walid Chammah, Deborah Curran, Laura O'Sullivan, et al., refuse to

abide by the default agreement above, NOVA STAR MORTGAGE, ET AL is hereby

noticed that the undersigned withdraws their signatures from all papers,

forms, and documents associated with the ~bove referenced account and

undersigned   reserves the .right to take any and all actions necessary to

enforce undersigned's rights.

Undersigned hereby surrenders the above referenced acco~nt and all things

related to it to NOVA STAR MORTGAGE, W. Lance Anderson, Chris Casey, Steve

Haslam, MORTGAGE ELECTRONIC REGISTRATION    SYSTEMS, R.K. Arn~ld, Bill Huffman,

SAXON MORTGAGE, Scott Rodeman, steve Faulkner, K C Reynolds, MORGAN STANL~Y,

John Mack, Wa~id Cha~ah,     Deborah CUrran, Laura O'Sullivan,   et al., and




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withdraws any fiduciary responsibility for above referenced account. P!ease

see Department of the Treasury, Interna! revenue service, Form 56 attached.

Should NOVA STAR MORTGAGE, ET AL hire a third party attorney, which is

defined a~ a collection agency for purposes of the FDCPA and must validate

the debt upon demand, NOVA STAR MORTGAGE, ET AL 'S refusal to respond in a

meaningful way to this document will service as prima facie evidence that

NOVA STAR MORTGAGE, ET AL is entering the suit with unclean hands.



Should NOVA STAR MORTGAGE, W, Lance Anderson, Chris casey, Steve Haslam,

MORTGAGE ELECTRONIC REGISTRATION SYSTEMS, R.K. Arnold, Bill Huffman, SAXON

MbRTGAGE,Scott   Rodeman, Steve Faulkner, K C Reynolds, MORGAN STANLEY, John

Mack, Walid Chammah, Deborah Curran, Laura 0'Sullivan, etal.,   acknowle,dges

that this document along with the Notice of Default is adequate notice to all

credit bureaus that the above referenced account should have it status

changed to reflect "Closed, Paid as Agreed."




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            We, DAVID RIDGWAY and PATRICIA RIDGWAY, knowing the penalty of bearing false

            witness, hereby affirm the foregoing to be true and correct to the best of my

            knowledge and belief and do affix my signature in testimony of the foregoing

            notice.



            EXEcuTED THIS                /tJ t1j   day of June,   2009.




                  w~.
            D~~

            PATRICIA RIDGWAY                               .

                    .   ,



     •...   UOT~Y           PT~LIC   .

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"


            My




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